
McKinney, J.
delivered the opinion of the court.
The judgment of the court below, in this case, cannot be maintained, and must be reversed and arrested.
In the case of the State at the relation of Lowry vs. Turk (Martin and Yerger’s Rep. 287,) it was solemnly adjudged, upon much consideration, that neither the ancient writ of quo warranto, nor the information in nature thereof, had ever been in force or use in this State.
In delivering the unanimous judgment of the court in that case, Crabb, judge, says: “ we are also of opinion, after a careful consideration of the arguments, and numerous authorities produced at the bar, that the mode of - proceeding sought to be used in this case, is not sanctioned by the laws of this State. The old writ of quo warranto had fallen into disuse in England prior to the passage of the North Carolina act of 1715, ch. 31, sec. 6, adopting the English common law. Neither that nor an information in the nature of it, is known by us *756to have ever been used in the colony of North Carolina, and was not, therefore, incorporated into our code by the act 1778, ch. 5, sec. 2, which did not adopt such parts of the ' common law as' had not been in force and in use in the colony; or were inconsistent with the new form of government; or which had been abrogated, expired, or become obsolete. This decision has exacted the acquiescence of the courts and the profession, and has been reguarded as the settled law of this State, for a period of now more than, twenty years; and a rule so long established, and, as we think, correctly, ought not unless upon the ground of very urgent necessity, to be departed from or brought into question; no such necessity, in our judgment, exists, and therefore, we reaffirm the doctrine of that case-
in this view of the case, it were needless to show, that, were the law held otherwise, the mode of proceeding adopted in this case, and the judgment of the court, are wholly unauthorised, irregular and void, as will be seen by reference to the well established practice of the court of King’s Bench, and also of such of the American courts as have adopted this form of remedy in such cases : See note to the case of the People vs. Richardson, (4 Cowen’s Rep. 97,) where the authorities, English and American, are collected, and the regular mode of proceeding pointed out.
The judgment will be reversed and arrested, and the proceedings quashed.
